                       IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                   AT COLUMBIA

DOUGLAS WAYNE BOWERS,                           )
                                                )
         Plaintiff,                             )          Case No. 1:14-0131
                                                )          Senior Judge Haynes
v.                                              )          Magistrate Judge Joe Brown
                                                )          Jury Demand
FELICIA McGEE,                                  )
                                                )
         Defendant.                             )

                        MEMORANDUM OF LAW IN SUPPORT OF
                        DEFENDANT FELICIA MCGEE’S MOTION
                      TO DISMISS FOR FAILURE TO STATE A CLAIM

         The Defendant, Felicia McGee (“Nurse McGee”), by counsel, pursuant to Rule 12(b) of

the Federal Rules of Civil Procedure, now respectfully submits this Memorandum of Law in

Support of her Motion to Dismiss for Failure to State a Claim.


                        I. STATEMENT OF THE CASE AND FACTS
                            RELEVANT TO PRESENT MOTION

         A. Procedural History

         On September 19, 2014, pro se Plaintiff Douglas Bowers, an inmate at the Marshall

County Jail in Lewisburg, Tennessee, filed a Complaint under 42 U.S.C. § 1983 against Felicia

McGee a licensed practical nurse, as well as Billy Lamb, the Marshall County Sheriff. (Docket

Entry No. 1). Plaintiff sued both Defendants in their official capacity. (Docket Entry No. 14, p.

4).

         On October 6, 2014, the Court granted Plaintiff’s application to proceed in forma

pauperis and dismissed the claims against Defendant Lamb for failure to state a claim for which

relief may be granted. (Docket Entry No. 3). The Court further held that a 28 U.S.C. § 1915



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      Case 1:14-cv-00131 Document 36 Filed 07/27/15 Page 1 of 19 PageID #: 109
frivolity hearing should proceed on October 24, 2014, for the purpose of screening the remaining

claims. (Id.) Following the frivolity hearing, the Court entered an order on March 2, 1014,

concluding that Plaintiff stated a potential claim for denial of medical care by Nurse McGee.

(Docket Entry No. 12).

        On June 1, 2015, the Court instructed the Clerk to send a service packet to Plaintiff.

(Docket Entry No. 19). Plaintiff completed the packet, summons was issued, and Nurse McGee

was subsequently served on or about June 17, 2015. (Docket Entry Nos. 24 and 25). On June 24,

2015, counsel for Nurse McGee entered an appearance. (Docket Entry No. 26). On July 7, 2015,

the Magistrate Judge granted Nurse McGee an extension to respond to the Complaint. (Docket

Entry No. 30).

        Defendant now respectfully submits this motion under Federal Rule of Civil Procedure

Rule 12(b)(6). Should the Court deny this motion, Defendant requests additional time to file an

Answer.

        B. Allegations 1

        1. Introduction

        Plaintiff was first imprisoned at the Marshall County Jail on or about August 30, 2014.

(See Docket Entry No. 1, p. 5). He was sentenced to 90 days and expected to be released on or

about November 27, 2014. (Id. at 7). After being confined for less than three weeks, or on

September 17, 2014, Plaintiff prepared the Complaint. (Id. at 6). Plaintiff then filed the

Complaint on September 19, 2014. (Id. at 1). Plaintiff sued Nurse McGee in her official capacity

as a nurse at the Marshall County Jail. (Id. at 4). While practicing at the Marshall County Jail,

Nurse McGee was employed by Southern Health Partners, Inc. Plaintiff was released as


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 By submitting this motion to dismiss, Nurse McGee does not admit the truth of any of the allegations in the
Complaint.

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    Case 1:14-cv-00131 Document 36 Filed 07/27/15 Page 2 of 19 PageID #: 110
anticipated in late 2014 (See Docket Entry No. 11).

        2. Pervasive Pronoun Use Within The Statement of Facts

        As an initial matter, it is important to note that in relating the “facts” and allegations

underlying his claim, Plaintiff only identifies Nurse McGee by name on one occasion. (Id. at 5-

9). All remaining allegations within the four-page “Statement of Facts” are couched in terms of

“she,” “they,” “them,” or “the nurse.” (Id.)

        3. Plaintiff’s Pre-Confinement Diagnoses

        Plaintiff alleges he presented to the Marshall County Jail with two pre-existing medical

conditions: (1) a 70 percent blocked artery; and (2) Hepatitis C. (Id. at 5-6). Plaintiff’s only

allegations associated with Hepatitis C are: “I have Hepitidus C [sic]. They no this[.] [T]hey

won’t do nothing.” (Id. at 6). Within the four corners of the Complaint, Plaintiff does not

specifically cite to any other medical diagnosis. (Id. at 5-6). He broadly states that he “want[s] to

sue for … medical [attention].” (Id. at 9).

        3. Healthy Diet

        Plaintiff claims he advised “the nurse” he was “surpose” to be on a “healthy diet,” but

“[s]he never put me on that healthy diet.” (Docket Entry No. 1, p. 5). In the Complaint, Plaintiff

makes no attempt to elaborate on this allegation. (Id.). He does not correlate a “healthy diet” with

any medical condition much less a serious medical need. (Id.).

        4. Medications

        Plaintiff sporadically references three medications—(1) amlodipine; (2) aspirin; and (3)

“nitro.” (Id. at 5-6). Plaintiff alleges that prior to confinement he was taking amlodipine and

aspirin daily. (Id. at 5). Plaintiff further asserts that his outside physician had prescribed “nitro

pills,” for use, as needed, to alleviate chest pain. (Id. at 6).



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   Case 1:14-cv-00131 Document 36 Filed 07/27/15 Page 3 of 19 PageID #: 111
       Plaintiff apparently brought open bottles of some or all of his medications to the jail. (Id

at 5.) He states that the amlodipine and aspirin were prescribed for a blocked “artirie” by his

physician. (Id.) Plaintiff does not cite any other medical diagnoses related to these medications.

(See Docket Entry No. 1, generally).

       Plaintiff asserts that at the jail, “she” told Plaintiff that personal medications were off-

limits if the bottles were open. (Id. at 5). However, “she” administered five doses of amlodipine

from an open container. (Id.) Plaintiff does not state anywhere in the Complaint that Nurse

McGee, or any health care provider at the jail for that matter, denied amlodipine or aspirin. (Id.

at 5-8). Instead, he complains that another unnamed medication was prescribed in lieu of

amlodipine. (Id. at 5). As a result, he experienced a headache. (Id. at 5-6) Plaintiff does not

further describe the headache. (Id. at 5-8).

       Plaintiff alleges his outside physician prescribed “nitro pills” to alleviate chest pain, as

needed. (Id. at 6). He states he brought these pills to the jail. (Id.) Plaintiff asserts that when he

complained of chest pain to “them,” “all they said is ok.” (Id.).

       5. Therapeutic Devices

       In addition to medications, Plaintiff alleges several therapeutic devices had also been a

part of his pre-confinement regimen for the blockage in his artery—(1) an inhaler; (2) nasal

spray; and (3) a humidifier. (Id. at 5-8). Plaintiff asserts that his physician had prescribed an

inhaler for use as needed, or three to four times per day (Id. at 5-6) and a nasal spray for use with

unknown frequency. (Id. at 5-8). He alleges that for the time frame spanning August 30, 2014 to

September 17, 2014, he had not “had my inhaler yet.” (Id. at 6). He then states “It’s hard to

breath[e]. Chest hurt a lot . . . Everything I say is true. They refused my nasal spray, They

refused my inhaler that I surpose to use three or four times a day as needed.”(Id. at 6). Plaintiff



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   Case 1:14-cv-00131 Document 36 Filed 07/27/15 Page 4 of 19 PageID #: 112
alleges his outside physician had prescribed these for “70 percent blockage.” (Id. at 6-7).

           Plaintiff appears to claim that on September 17, 2014, Officer Justin Christmas removed

his “humidifier machine” from his cell. (Id. at 8). The officer asked him, however, whether he

needed any parts for it. (Id.). Plaintiff alleges the purpose for the humidifier is: “for my doctor to

see what’s going on with me. It has a chip in it.” (Id.) Additionally, Plaintiff states that without

the humidifier, he has a 70 percent chance of choking to death while on his back and a 20 percent

chance of choking on his side. (Id.)

           Finally, Plaintiff globally states that “she is doing anything to hurt me.” (Id. at 8).

           6. Requested Relief

           Plaintiff alleges that he has suffered “stress” and “mental curity [sic].” (Id. at 7). Plaintiff

“hoped” he did not suffer any injury by the time he was released. (Id. at 7).


                     II. STANDARD FOR RULING ON MOTION TO DISMISS
                              FOR FAILURE TO STATE A CLAIM

           On appeal, a district court's grant of a Rule 12(b)(6) motion to dismiss is reviewed de

novo. Robert N. Clemens Trust v. Morgan Stanley DW, Inc., 485 F.3d 840, 845 (6th Cir. 2007)

(citing McCarthy v. Middle Tenn. Elec. Membership Corp., 466 F.3d 399, 405 (6th Cir. 2006)).

The standard of review is abuse of discretion. Re/Max Intern., Inc. v. Realty One, Inc., 173 F.3d

995, 1009 (6th 1999).

           The Court reviews motions to dismiss filed under Rule 12(b)(6) of the Federal Rules of

Civil Procedure by accepting that all of the allegations contained in the complaint are true,

resolving all doubts in the plaintiff’s favor, and construing the complaint liberally in favor of a

pro se plaintiff. Duckett v. State,2 No. 3:10-0067, 2010 WL 3732192, at *2 (M.D. Tenn. Sept. 20,

2010) (citing Kottmyer v. Maas, 436 F.3d 684 (6th Cir. 2006); Boswell v. Meyer, 169 F.3d 384,
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    See Exhibit A attached hereto – case not reported in F.Supp.2d (2010).

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      Case 1:14-cv-00131 Document 36 Filed 07/27/15 Page 5 of 19 PageID #: 113
387 (6th Cir. 1999); Morgan v. Church’s Fried Chicken, 829 F.2d 10, 11-12 (6th Cir. 1987)).

“Although the Court holds pro se pleadings to a less stringent standard than formal pleadings

drafted by lawyers, the district court is under no duty to conjure up unpled allegations.” Kotewa

v. Westbrooks,3 No. 1:12-CV-264, 2013 WL 1249227, at *2 (E.D. Tenn. Mar. 27, 2013) (citing

GJR Inv., Inc. v. County. of Escambia, 132 F.3d 1359, 1369 (11th Cir.1998)).

           Although the complaint need not contain detailed factual allegations, the plaintiff must

provide the grounds for his entitlement to relief and this “requires more than labels and

conclusions, and a formulaic recitation of the elements of a cause of action.” Bell Atlantic Corp.

v. Twombly, 550 U.S. 544, 555 (2007) (abrogating Conley v. Gibson, 355 U.S. 41 (1957)0; see

also Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The factual allegations averred must be enough

to show a plausible right to relief. Twombly, 550 U.S. at 555-61. More than bare assertions of

legal conclusions are required to withstand a motion to dismiss. Id.; Scheid v. Fanny Farmer

Candy Shops, Inc. 859 F. 2d 434, 436-37 (6th Cir. 1988). Further, the complaint must contain

either direct or inferential allegations respecting all of the material elements to sustain a recovery

under some viable legal theory. Id. Although Rule 8 of the Federal Rules of Civil Procedure does

not constitute a “hyper-technical, code-pleading regime,” “it does not unlock the doors of

discovery for a plaintiff armed with nothing more than conclusions.” Iqbal, 556 U.S. at 678-79.

A Complaint does not “suffice if it tenders naked assertions devoid of further factual

enhancement.” Id. at 678 (citing Twombly, 550 U.S. at 557). “[D]ismissal [is] proper only if it

appears beyond doubt that the plaintiff can prove no set of facts in support of the claims that

would entitle him or her to relief.” Downie v. City of Middleburg Heights, 301 F.3d 688, 693 (6th

Cir. 2002).



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    See Exhibit B attached hereto – case not reported in F.Supp.2d (2013).

                                                           6

      Case 1:14-cv-00131 Document 36 Filed 07/27/15 Page 6 of 19 PageID #: 114
                                           III. ISSUES


        1. Whether the Complaint fails to state an official capacity claim against Nurse McGee
           under § 1983 because it fails to state a set of allegations sufficient to support an
           unlawful policy or custom or a causal link between such policy or custom and a
           violation of Plaintiff’s constitutional rights.

        2. Alternatively, whether the Complaint fails to state an individual capacity claim
           against Nurse McGee because Plaintiff’s allegations are insufficient to support a §
           1983 Eight Amendment claim for deliberate indifference to a serious medical need.

        3. Whether the Complaint should be dismissed because Plaintiff’s claims against Nurse
           McGee sound in malpractice and Plaintiff failed to comply with the procedural
           requirements of the HCLA.

        4. Whether the Complaint fails to state a claim against Nurse McGee because it fails to
           state any allegations sufficient to support a physical injury under the Prison Litigation
           Reform Act, 42 U.S.C. 1997e (e) (“PLRA”).



                                 IV. LAW AND ARGUMENT

        A. Official Capacity v. Individual Capacity Claims

        To state a claim under § 1983 claim, a plaintiff must allege: (1) he was deprived of a right

secured by the Constitution and laws of the United States; and (2) the alleged deprivation was

committed by “a person acting under color of state law.” West v. Atkins, 487 U.S. 42, 48 (1988)

(citations omitted); see Am. Mfrs. Mut. Ins. Co. v. Sullivan, 526 U.S. 40, 49-50 (1999). The

second part of the foregoing test, commonly referred to as “state action,” may be brought in

either an individual or official capacity. See e.g. Will v. Michigan Dep't of State Police, 491 U.S.

58, 70-71 (1989); Leach v. Shelby Cnty. Sheriff, 891 F.2d 1241, 1245 (6th Cir. 1989); Matthews

v. Jones, 35 F.3d 1046, 1049 (6th Cir. 1994); Stemler v. City of Florence, 126 F.3d 856, 864 n.8

(6th Cir. 1997).

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   Case 1:14-cv-00131 Document 36 Filed 07/27/15 Page 7 of 19 PageID #: 115
           A successful suit against a person acting under color of law or in an “individual capacity”

results in personal liability for damages by the individual to the injured party. Leach, 891 F.2d at

1245. On the other hand, a suit against an individual in an “official capacity” is tantamount to a

suit directly against a local government and may under certain limited circumstances, result in

that entity’s liability to the injured party for damages. See id; Matthews, 35 F.3d at 1049;

Stemler, 126 F.3d at 864 n.8.

            “As long as the government entity receives notice and an opportunity to respond, an

official capacity suit is, in all respects other than name, to be treated as a suit against the entity.”

Leach, 891 F.2d at 1245 (quoting Kentucky v. Graham, 473 U.S. 159, 165-66 (1985)).

Regardless of whether a suit is pled as an “official capacity” suit against an individual or a direct

claim against the local government, the Supreme Court has held that the plaintiff must, in both

instances, show his or her injuries were the result of some “policy or custom” attributable to the

governmental entity. Id. at 1245-46. (citing Monell v. New York Dep’t of Social Services, 436

U.S. 658, 690 (1978)).

           Specifically, the Supreme Court stated in Kentucky v. Graham;

                    On the merits, to establish personal liability in a § action, it is enough to
                    show that the official, acting under color of state law, caused the
                    deprivation of a federal right….More is required in an official-capacity
                    action, however, for a governmental entity is liable under § 1983 only
                    when the entity itself is a “moving force” behind the deprivation, … thus,
                    in an official-capacity suit the entity’s “policy” or custom” must have
                    played a part in the violation of federal law.

Id. (quoting Graham, 473 U.S. 159, 165-66 (1985)) (citations omitted).

Significantly, these restrictions apply equally to county governments, see e.g. Carroll v. Knox

Cnty. Bd. Of Educ.,4 No. 3:07-CV-345, 2010 WL 2507046, at *5-6 (E.D. Tenn. June 17, 2010),

as well as private entities such as SHP, see e.g. Street v. Corrections Corp. of Am., 102 F.3d 810,
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    See Exhibit C attached hereto – case not reported in F. Supp.2d (2010).

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      Case 1:14-cv-00131 Document 36 Filed 07/27/15 Page 8 of 19 PageID #: 116
817-18 (6th Cir. 1996).

       In the case at hand, the Court dismissed Plaintiff’s § 1983 claims against Co-Defendant

Lamb after performing an initial frivolity screen under 28 U.S.C. §1915(e)(2). (See Docket Entry

No. 3). The Court also determined Plaintiff could proceed against Nurse McGee for denial of

medical care in violation of the Eighth Amendment. (See Docket Entry Nos. 12 and 19).

        By the plain language of the Complaint, Plaintiff explicitly sues Nurse McGee in her

“official capacity” as a nurse at the Marshall County Jail. (See Docket Entry No. 1, p.4). As

explained more fully below, this is equivalent to bringing suit against Nurse McGee’s employer,

SHP. However, out of an abundance of caution, Nurse McGee will address Plaintiff’s failure to

state a claim in both an official and an individual capacity.


       B. Whether the Complaint fails to state an official capacity claim against Nurse
          McGee under § 1983 because it fails to state a set of allegations sufficient to
          support a claim for an unlawful policy or custom or a causal link between such
          policy or custom and a violation of Plaintiff’s constitutional rights.


       Plaintiff sues Nurse McGee in her “official capacity.” (Id.). As such, under the principles

articulated in Monell, Plaintiff must show that any alleged denial of medical care was the result

of a policy or custom of Nurse McGee’s employer, SHP. Monell, 436 U.S. at 690. Moreover, an

employer cannot be held responsible under § 1983 for an alleged constitutional violation, unless

there is a direct causal link between a policy or custom of the entity and the alleged

constitutional violation. Deaton v. Montgomery Cnty., Ohio, 989 F.2d 885, 889 (6th Cir. 1993);

Leach v. Shelby Cnty. Sheriff, 891 F.2d 1241, 1246-47 (6th Cir. 1989). Simply stated, the plaintiff

must “identify the policy, connect the policy to the [entity] itself and show that the particular

injury was incurred because of the execution of that policy.” Garner v. Memphis Police Dep’t., 8

F.3d 358, 363-64 (6th Cir. 1993) (quoting Coogan v. City of Wixom, 820 F.2d 170, 176 (6th Cir.

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   Case 1:14-cv-00131 Document 36 Filed 07/27/15 Page 9 of 19 PageID #: 117
1987), overruled on other grounds by Frantz v. Vill. of Bradford, 245 F.3d 869 (6th Cir. 2001)).

        In the instant case, Plaintiff fails to expressly identify any potential policy or custom

created and implemented by SHP at the Marshall County Jail which might have contributed to

any alleged injury. (See Docket Entry No. 1, pp.1-9). Plaintiff’s allegations also do not imply the

existence of any such policy or custom much less that any policy or custom acted as the “moving

force” behind any constitutional violation. (Id.); see also Graham, 473 U.S. at 165-66.

        Accordingly, the “official capacity” claims against Nurse McGee, however construed,

must be dismissed.

        C. Alternatively, whether the Complaint fails to state a individual capacity claim
           because Plaintiff’s allegations are insufficient to support a § 1983 claim for
           deliberate indifference to a serious medical need under the Eighth Amendment.


        The Eighth Amendment prohibits prisoners from being subjected to “unnecessary and

wanton infliction of pain,” which includes the “deliberate indifference to serious medical needs”.

To demonstrate a violation of the Eighth Amendment in this context, Plaintiffs must meet a two-

pronged test. See Johnson v. Karnes, 398 F.3d 868, 874 (6th Cir. 2005). The first prong, which is

a subjective test, requires plaintiffs to demonstrate that the government actor “had a sufficiently

culpable state of mind—one of deliberate indifference to health or safety.” Id. The second prong,

which is an objective test, requires plaintiffs to show that the medical need at issue was

sufficiently serious. The courts define a serious medical need as “one that has been diagnosed by

a physician as mandating treatment or one that is so obvious that even a lay person would easily

recognize the necessity for a doctor's attention.” Harrison v. Ash, 539 F.3d 510, 518 (6th Cir.2

008).

        1. Plaintiff Has Not Alleged Facts Sufficient To Support a Claim for Deliberate
        Indifference for the “70 percent” Blocked Artery

        The subjective component requires that to establish deliberate indifference, the defendant
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  Case 1:14-cv-00131 Document 36 Filed 07/27/15 Page 10 of 19 PageID #: 118
have a “sufficiently culpable state of mind.” Farmer v. Brennan, 511 U.S. 825, 834, (1994). In

other words, Plaintiffs must allege facts which, if true would show that a defendant, like Nurse

McGee, perceived facts from which to infer substantial risk to Plaintiff, that Nurse McGee did in

fact draw that inference, and that Nurse McGee then disregarded that risk. See id.; see also

Johnson, 398 F.3d at 874; Dominguez v. Corrections Med. Servs., 555 F.3d 543, 550 (6th

Cir.2009); Comstock v. McCrary, 273 F.3d 693, 703 (6th Cir. 2001). “[T]hat a [medical

professional] has been negligent in diagnosing or treating a medical condition does not state a

valid claim ... under the Eighth Amendment.” Dominguez, 555 F.3d at 550 (quoting Estelle v.

Gamble, 429 U.S. 97, 106 (1976)).

       The bulk of Plaintiff’s claim hinges on an alleged diagnosis of a 70 percent blocked

artery by his outside physician. In this regard, Plaintiff has failed to allege sufficient facts to

support a claim that Nurse McGee acted with deliberate indifference.

       First, Plaintiff only mentions Nurse McGee’s name on one occasion in his five pages of

allegations. (See Docket Entry No. 1, pp. 5-9). Second, Plaintiff’s Complaint is laden with

ambiguity. (See id.). Conclusory statements do not suffice to state a claim and this Court is not

required to take such allegations as true. See Iqbal, 129 S.Ct. at 1949-53.

       For example, Plaintiff asserts his outside physician prescribed “nitro pills” for chest pain,

as needed. (Docket Entry No. 1, p. 6). He states that he brought these pills to the jail. (Id.) He

then asserts that when he complained of chest pain to “them,” all they said is ok.” (Id.) Plaintiff

also alleges that from August 30, 2014 to September 16, 2014, he had not “had my inhaler yet.”

Plaintiff then states “It’s hard to breath[e]. Chest hurt a lot . . . Everything I say is true. (Id.)

They refused my inhaler that I surpose [sic] to use three or four times a day as needed.” (Id.) He

globally states that “she is doing anything to hurt me.”



                                                 11

   Case 1:14-cv-00131 Document 36 Filed 07/27/15 Page 11 of 19 PageID #: 119
       Based on the foregoing, the Complaint completely lacks well-pled factual allegations to

support deliberate indifference by Nurse McGee. None of the allegations mention Nurse McGee.

There is nothing to suggest that she perceived facts from which to infer a substantial risk to

Plaintiff, that she actually did in fact draw that inference, and that Nurse McGee then disregarded

that risk. Without allegations sufficient to state a claim for deliberate indifference, Plaintiffs

cannot show there was a specific constitutional violation.

       Further, Plaintiff complains that Nurse McGee allegedly prescribed another medication in

lieu of amlodipine and that as a result, he experienced a headache. While Plaintiff may prefer to

receive a particular medication, the Eighth Amendment does not entitle an inmate to demand

specific care. See Fisc. v. Shappell, 468 F.2d 1072, 1076 (6th Cir. 1971); Estelle v. Gamble, 429

U.S. 97, 106, 97 S. Ct. 285, 292, 50 L. Ed. 2d 251 (1976)

       Therefore, because Plaintiff did not allege sufficient facts to meet the first prong of the

deliberate indifference test, Nurse McGee is entitled to dismissal.


       2. Plaintiff Has Not Alleged Facts Sufficient To Support A Claim for Deliberate
       Indifference To A Serious Medical Need Related to a Healthy Diet.


       The objective component of an Eighth Amendment claim requires that a prisoner have a

serious medical need. Blackmore v. Kalamazoo Cnty., 390 F.3d 890, 895 (6th Cir.2004); Brooks

v. Celeste, 39 F.3d 125, 128 (6th Cir.1994). “[A] medical need is objectively serious if it is one

that has been diagnosed by a physician as mandating treatment or one that is so obvious that

even a lay person would readily recognize the necessity for a doctor's attention.” Blackmore, 390

F.3d at 897 (internal quotation marks and citations omitted).


       Plaintiff alleges that he told “the nurse” he was supposed to be on a “healthy diet” and

that “she never put [him] on that healthy diet.” The Complaint contains no other allegations

                                                12

   Case 1:14-cv-00131 Document 36 Filed 07/27/15 Page 12 of 19 PageID #: 120
regarding diet. The failure to order a special diet where a prisoner's medical condition requires

one may rise to the level may rise to the level of an Eighth Amendment violation. See Byrd v.

Wilson, 701 F.2d 592, 594–95 (6th Cir.1983).


        However, Plaintiff provides no explanation in the Complaint as to how the “healthy diet”

he requires is special, how it may differ from a regular diet, and fails to link this diet to any

medical condition much less a serious medical need. Plaintiff does not allege that Nurse McGee

perceived facts from which to infer a substantial risk to Plaintiff that she actually did in fact draw

that inference, and that Nurse McGee then disregarded that risk. Plaintiff has made nothing more

than bare bones, conclusory assertions regarding his diet. These assertions merit dismissal as

they fail to state a cognizable constitutional claim.

        3. Plaintiff Has Failed To Allege Facts Sufficient To Support a Claim for Deliberate
        Indifference To A Serious Medical Need for Hepatitis C.


        Plaintiff’s sole allegations regarding Hepatitis C are limited to: “I have Hepitidus C. They

no (sic) this. They won’t do nothing.”

        Even though a complaint need not contain “detailed” factual allegations, its “factual

allegations must be enough to raise a right to relief above the speculative level.” Ass'n of

Cleveland Fire Fighters v. City of Cleveland, 502 F.3d 545, 548 (6th Cir.2007) (citation

omitted). Once again, Plaintiff has failed to meet his burden and dismissal is warranted for

failure to state a claim.

        D. Nurse McGee Would Show Dismissal of the Complaint Is Warranted Because
           All Of Plaintiff’s Allegations Sound in Negligence, Not A claim Under § 1983.

        As discussed above, in order to establish a claim for relief under § 1983, the plaintiff

must plead and prove that the defendants, while acting under color of state law, deprived him of

some right or privilege secured by the Constitution or laws of the United States. Parratt v.
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   Case 1:14-cv-00131 Document 36 Filed 07/27/15 Page 13 of 19 PageID #: 121
Taylor, 101 S.Ct. 1908, 1913, (1981). The Eighth Amendment guarantees a prisoner the right to

medical care. This right has been violated when prison officials are deliberately indifferent to a

prisoner's serious medical needs. Estelle v. Gamble, 97 S.Ct. 285, (1976). Negligence, even gross

negligence, will not support a § 1983 claim for denial of medical care. See Farmer v. Brennan,

114 S.Ct. 1970, (1994); Gibson v. Foltz, 963 F.2d 851, 853 (6th Cir.1992).

       In this case, the plaintiff cites two medical conditions diagnosed pre-confinement—(1)

Hepatitis C; and (2) a 70 percent blocked artery. As addressed above, Plaintiff’s allegations as to

the former are patently insufficient and fail to state a claim for relief. As to the latter, Plaintiff

asserts that pre-confinement, his outside physician prescribed amlodipine, aspirin, nitro, an

inhaler, nasal spray, and a humidifier. Plaintiff alleges within the Complaint that Nurse McGee

administered another medication in lieu of amlodipine for the blocked artery. He alleges that the

nitro, inhaler, and nasal spray were not given. He claims that, as a result, he suffered chest pain, a

headache and shortness of breath, on an unknown date, all with unknown duration, frequency,

and severity. Plaintiff makes no mention in the Complaint of ever seeking medical attention at

the Jail for any issue, nevertheless a blocked artery, chest pain, headache or shortness of breath.

He merely states “they wont do nothing” but it is not clear who “they” are. The plaintiff received

treatment for the blocked artery—just not the scope or type of treatment that he wanted, or for

that matter, sought.

       When a prisoner has received some medical attention and his claim is a challenge to the

adequacy of the care provided, federal courts are generally reluctant to second guess medical

judgments and constitutionalize claims which sound in state tort law. Hill v. Jones, 211 F.3d

1269 (6th Cir.2000). Medical malpractice does not become a constitutional tort merely because

the victim is a prisoner. Estelle, 429 U.S. at105–106. Negligent conduct, is not actionable under



                                                 14

   Case 1:14-cv-00131 Document 36 Filed 07/27/15 Page 14 of 19 PageID #: 122
§ 1983 because it does not rise to the level of a constitutional deprivation. Estelle v. Gamble,

97S.Ct. 285 (1976). Therefore, the plaintiff has failed to describe conduct resulting in a violation

of federal law or the Constitution. Comstock v. McCrary, 273 F.3d 693, 703 (6th Cir.2001).

       The motion to dismiss is well-taken and should be dismissed.

   1. Plaintiff’s claims should be dismissed because Plaintiff failed to comply with the
      procedural requirements of the Health Care Liability Act, § 29-26-101, et. seq.

       As discussed above, Plaintiffs claims sound in malpractice.         The Tennessee statute

governing malpractice is the Health Care Liability Act, codified at 29-26-101, et. seq. This

statute has certain procedural requirements which must be met for a lawsuit to proceed. First,

Plaintiff must provide written notice of a potential claim to a defendant at least sixty (60) days

prior to filing a complaint. See Tenn. Code Ann. § 29-26-121(a). Second, the plaintiff must file a

certificate of good faith with the complaint. Tenn. Code Ann. § 29-26-122(a). Plaintiff has failed

to meet both requirements. We will address each in turn.

   2. Plaintiff’s Complaint fails to state a claim because under Tenn. Code Ann. § 29-26-
      121(a) Plaintiff was required to provide written notice of the potential claim to
      Defendant at least sixty (60) days prior to filing the complaint.

       Under Tenn. Code Ann. § 29-26-121(a)(1), a plaintiff is required to provide written

notice advising of the potential claim for health care liability at least 60 days before filing the

complaint. Tennessee Code Annotated § 29-26-121(a)(1) provides in pertinent part:

       Any person, or that person's authorized agent, asserting a potential claim for
       health care liability shall give written notice of the potential claim to each health
       care provider that will be a named defendant at least sixty (60) days before the
       filing of a complaint based upon health care liability in any court of this state.

(emphasis added).

       In the case before this Court, the Complaint does not state that Plaintiff provided pre-suit

notice to any of the Defendants as required under Tenn. Code Ann. § 29-26-121(a)(1). Plaintiff



                                                15

  Case 1:14-cv-00131 Document 36 Filed 07/27/15 Page 15 of 19 PageID #: 123
did not comply with the mandatory 60-day written notice required by Tenn. Code Ann. § 29-26-

121(a)(1). Absent extraordinary cause, Plaintiff’s failure cannot be excused. Tenn. Code Ann. §

29-26-121(b). Under these circumstances, the statute mandates dismissal.

       As such, the motion to dismiss is well taken and should be granted.

   3. Plaintiffs Complaint fails to state a claim upon which relief may be granted because
      under Tenn. Code Ann. § 29-26-122(a), Plaintiff was required to file a Certificate of
      Good Faith with the Complaint stating that Plaintiff conferred with a medical expert and
      that there is a good faith basis to maintain the action.

      Tenn. Code Ann. § 29-26-122(a) requires that the certificate of good faith be filed with
the Complaint. Specifically, Tennessee Code Annotated § 29-26-122(a)(1) provides in pertinent
part:
      In any medical malpractice action in which expert testimony is required ..., the
      plaintiff or plaintiff's counsel shall file a certificate of good faith with the
      complaint. If the certificate is not filed with the complaint, the complaint shall be
      dismissed, as provided in subsection (c), absent a showing that the failure was due
      to the failure of the provider to timely provide copies of the claimant's records
      requested as provided in § 29–26–121 or demonstrated extraordinary cause.

       In the certificate, the plaintiff must state that he or she has consulted with a medical

expert who has provided a written statement confirming that there is a good-faith basis for the

plaintiff's action. Tenn. Code Ann. § 29–26–122(a)(1)-(2). Significantly, the failure of a plaintiff

to file a certificate of good faith in compliance with this section makes the action subject to

dismissal with prejudice. See Tenn. Code Ann. § 29–26–122(c).

        Here, Plaintiff indisputably failed to file a certificate of good faith with his Complaint.

Commensurately, Plaintiff’s claims should be dismissed with prejudice.

       E. Whether the Complaint fails to state a claim against Nurse McGee because
          Plaintiff admits he has not suffered a physical injury under the PLRA.


       For actions, such as the present suit, premised on violation of the Eighth Amendment, the

PLRA provides an inmate may not recover damages for a mental or emotional injury absent a




                                                16

  Case 1:14-cv-00131 Document 36 Filed 07/27/15 Page 16 of 19 PageID #: 124
physical injury.5 See 42 U.S.C. § 1997e(e); King v. Zamiara, 788 F.3d 207, 213 (6th Cir. 2015).

Plaintiff alleges in the Complaint that he suffered “stress” and “mental curity [sic].” (Docket

Entry No. 1, p.7).            He “hoped” that he would not suffer any physical injury during his

confinement. (Id.). Plaintiff requested injunctive relief in the form of “new trays and cups” and

“detirminated[sic] from job.” He further sought $650.

           In the wake of filing the Complaint, Plaintiff was released from the Marshall County Jail.

(See Docket Entry No.). Because Plaintiff is no longer in custody, injunctive relief is no longer

available. Moore v. Curtis,6 68 Fed. App’x. 561, 562, (6th Cir. 2003); Kensu v. Haigh, 87 F.3d

172, 175 (6th Cir. 1996). A case generally becomes moot “when the issues presented are no

longer ‘live” or the parties lack a legally cognizable interest in the outcome.” Murphy v. Hunt,

455 U.S. 478, 481 (1982). Therefore, Plaintiff’s claim for injunctive relief is moot. Plaintiff’s

sole remaining claim is for monetary damages for mental or emotional distress. Plaintiff admits

in the Complaint that he has not suffered a physical injury; his allegations are merely grounded

in speculation that physical injury might occur at some unidentified point in the future.

           Without sufficient allegations to support a physical injury, the motion to dismiss, under

the authority of the PLRA, is well taken and should be granted.




           5
             The PLRA specifically states: “[n]o federal civil action may be brought by a prisoner
           confined in a jail, prison, or other correctional facility, for mental or emotional injury
           suffered while in custody without a prior showing of physical injury.”
6
    See Exhibit D attached hereto – this case was not selected for publication.

                                                            17

      Case 1:14-cv-00131 Document 36 Filed 07/27/15 Page 17 of 19 PageID #: 125
                                   V. CONCLUSION

       For the foregoing reasons, the Defendant, Felicia McGee respectfully requests that the

Court enter an order to dismiss Plaintiff’s claims for failure to state a claim. This Defendant

further requests all further relief which may be appropriate on these premises.



                                             Respectfully submitted,

                                             LEITNER, WILLIAMS, DOOLEY
                                              & NAPOLITAN, PLLC

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                                                     Attorneys for Defendant Felicia McGee




                                                18

  Case 1:14-cv-00131 Document 36 Filed 07/27/15 Page 18 of 19 PageID #: 126
                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been forwarded by
electronic means via the Court’s electronic filing system or by U.S. Mail, postage prepaid, to:

              Douglas Wayne Bowers
              5443 Hickory Park Drive
              Antioch, Tennessee 37013

       This the 27th day of July, 2015.

                                                   By:    s/Carol Davis Crow
                                                          Carol Davis Crow




                                              19

  Case 1:14-cv-00131 Document 36 Filed 07/27/15 Page 19 of 19 PageID #: 127
